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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 HELENA DIVISION

DAVID LIBRACE                                                             PLAINTIFF


V.                                      2:16CV00074 JM


DEBORAH HELTON WRIGHT, et al,                                             DEFENDANTS

                                           JUDGMENT

       Pursuant to the Order entered on this day, Judgment is hereby entered in favor of the

Defendants and against the Plaintiff.

       IT IS SO ORDERED this 14th day of August, 2017.

                                                           ______________________________
                                                           James M. Moody Jr.
                                                           United States District
